         Case 1:16-cr-10343-ADB Document 992 Filed 10/18/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                    )      CRIMINAL NO. 16-10343-ADB
                                             )
               v.                            )
                                             )
JOHN KAPOOR, ET. Al.                         )
                                             )
         Defendants.                         )
                                             )

UNITED STATES’ RESPONSE TO MOTION TO CONTINUE SENTENCING (Doc. 988)

       The United States consents to a brief continuance of the seven sentencing hearings but

respectfully requests that the Court sentence John Kapoor first and sentence the cooperators,

Alec Burlakoff and Michael Babich, last. This order will accomplish the Court’s stated goal of

sentencing all 7 defendants in proximity to one another while enabling the parties to make

intelligent sentencing recommendations and avoid unwarranted sentencing disparity. See 18

U.S.C. § 3553((a)(6).

                                             Respectfully,


                                             ANDREW E. LELLING
                                             United States Attorney

Dated: October 18, 2019              By:     /s/ David G. Lazarus
                                             K. NATHANIEL YEAGER (BBO # 630992)
                                             DAVID G. LAZARUS (BBO #624907 )
                                             FRED M. WYSHAK, JR. (BBO #535940)
                                             Assistant U.S. Attorneys
                                             One Courthouse Way, Ste. 9200
                                             Boston, MA 02210
                                             (617) 748-3100
                                             david.lazarus2@usdoj.gov
                                             nathaniel.yeager@usdoj.gov
                                             fred.wyshak@usdoj.gov
         Case 1:16-cr-10343-ADB Document 992 Filed 10/18/19 Page 2 of 2



                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ David G. Lazarus
                                              David G. Lazarus
Dated: October 18, 2019                       Assistant U.S. Attorney




                                                 2
